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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR S.07-00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING STATUS CONFERENCE
           v.                            )                AND EXCLUDING TIME
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      A status conference in this matter is now scheduled for August 4, 2008 at 10:00 a.m.
19      2.      This case involves an alleged complex scheme to defraud the Unemployment
20              Insurance System. At this point, approximately 1,000 pages of discovery have been
21              produced not including video tape/DVD evidence, which the parties must review to
22              prepare for trial. The parties continue to review the discovery and conduct
23              investigation necessary to prepare for trial as well as pretrial motions. Additionally,
24              attorney Emmett Mahle will be involved in a jury trial and unavailable on August 4.
25              In light of the need for attorney preparation and continuity of counsel, a continuance
26              of the status conference until September 2, 2008 is requested.
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 1   3.      It is stipulated by the parties that time continue to be excluded to September 2, 2008
 2           for preparation of counsel as well as continuity of counsel pursuant to local code T4.
 3           18 U.S.C. 3161(h)(8)(B)(iv).
 4
     DATED: July 31, 2008              /s/ Tim Warriner
 5                                     Attorney for defendant, TERESA MARIA MORALES
 6
     DATED: July 31, 2008              /s/ Bruce Locke
 7                                     Attorney for defendant, ENRIQUE MORALES
 8
     DATED: July 31, 2008              /s/ Miguel A. Hernandez
 9                                     Attorney for defendant, JOSE LUIS MORALES
10
     DATED: July 31, 2008              /s/ Clarence Emmett Mahle
11                                     Attorney for defendant, JUAN MORALES
12
     DATED: July 31, 2008              /s/ Donald P. Dorfman
13                                     Attorney for defendant, PETRA PRECIADO MORALES
14
     DATED: July 31, 2008              /s/ Matthew Stegman
15                                     Assistant U.S. Attorney
16
17
                                             ORDER
18
          GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for
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     August 4, 2008 be continued to September 2, 2008 at 10:00 a.m., and that time continue to be
20
     excluded to September 2, 2008 for preparation of counsel and continuity of counsel pursuant
21
     to Local Code T4, 18 U.S.C. 3161(h)(8)(B)(iv).
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 .
23
     DATED: July 31, 2008
24
                                                  _______________________________________
25                                                FRANK C. DAMRELL, JR.
26                                                UNITED STATES DISTRICT JUDGE

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